                  Case 2:04-cv-09049-DOC-RNB Document 4374 Filed 10/20/08 Page 1 of 2 Page ID
                                                  #:118912



                    1 QUINN EMANUEL URQUHART OLIVER & HEDGES, LLP
                       John B. Quinn (Bar No. 090378)
                    2  johnquinn@quinnemanuel.com
                        Michael T. Zeller (Bar No. 196417)
                    3  (michaelzeller@quinnemanuel.com)
                       Jon D. Corey (Bar No. 185066)
                    4  (joncorey@quinnemanuel.com)
                       Timothy L. Alger (Bar No. 160303)
                    5  (timalger@quinnemanuel.com)
                      865 South Figueroa Street, 10th Floor
                    6 Los Angeles, California 90017-2543
                      Telephone: (213) 443-3000
                    7 Facsimile: (213) 443-3100
                    8 Attorneys for Mattel, Inc.
                    9                            UNITED STATES DISTRICT COURT
                   10                       CENTRAL DISTRICT OF CALIFORNIA
                   11                                 EASTERN DIVISION
                   12 CARTER BRYANT, an individual,                CASE NO. CV 04-9049 SGL (RNBx)
                   13               Plaintiff,                     Consolidated with
                                                                   Case No. CV 04-09059
                   14        vs.                                   Case No. CV 05-02727
                                                                   NOTICE OF FILING OF PHASE 1A
                   15 MATTEL, INC., a Delaware                     AND PHASE 1B TRANSCRIPTS IN
                      corporation,                                 SUPPORT OF AND OPPOSITION
                   16                                              TO:
                                   Defendant.
                   17
                                                                   (1) MATTEL, INC.'S MOTION FOR
                   18 AND CONSOLIDATED ACTIONS                     CONSTRUCTIVE TRUST AND
                                                                   FINDING OF LIABILITY AND
                   19                                              INJUNCTIVE RELIEF UNDER
                                                                   CAL. BUS. & PROF. CODE § 17200;
                   20                                              AND
                   21                                              (2) MATTEL, INC.'S MOTION FOR
                                                                   DECLARATORY JUDGMENT OF
                   22                                              OWNERSHIP OF BRATZ WORKS
                   23
                                                                   Hearing Date: November 10, 2008
                   24                                              Time:         1:00 p.m.
                                                                   Place:        Courtroom 1
                   25
                                                                   Phase 1C
                   26
                   27
                   28
07209/2674503.1
                                   NOTICE OF FILING OF TRANSCRIPTS IN SUPPORT OF AND OPPOSITION TO MOTIONS FOR
                                                                  CONSTRUCTIVE TRUST AND DECLARATORY RELIEF
                  Case 2:04-cv-09049-DOC-RNB Document 4374 Filed 10/20/08 Page 2 of 2 Page ID
                                                  #:118913



                    1        PLEASE TAKE NOTICE that plaintiff Mattel, Inc. ("Mattel") hereby submits
                    2 the following trial transcripts in accordance with the Court's Order Re Citation to
                    3 and E-Filing of Oversized Transcript dated September 9, 2008.
                    4 Mattel, Inc.'s Motion for Constructive Trust and Finding of Liability and
                    5 Injunctive Relief Under Cal. Bus. & Prof. Code § 17200:
                    6        5/12/2008 Hearing                             6/05/2008 P.M
                    7        5/19/2008 Hearing                             6/06/2008 A.M
                    8        5/22/2008 P.M.                                6/11/2008 A.M
                    9        5/23/2008 Pre-Trial Conference                6/17/2008 P.M.
                   10        5/27/2008 A.M.                                7/02/2008 A.M.
                   11        5/27/2008 P.M.                                7/10/2008 P.M.
                   12        5/28/2008 A.M.                                7/21/2008 P.M.
                   13        5/28/2008 P.M                                 8/06/2008 P.M.
                   14        5/30/2008 P.M
                   15 Motion for Declaratory Judgment of Ownership of Bratz Works:
                   16        5/27/2008 P.M.                                6/17/2008 A.M
                   17        6/03/2008 P.M.                                8/15/2008 P.M.
                   18        6/04/2008 A.M
                   19
                   20 DATED: October 20, 2008              QUINN EMANUEL URQUHART OLIVER &
                                                           HEDGES, LLP
                   21
                   22
                   23                                      By /s/ B. Dylan Proctor
                                                             B. Dylan Proctor
                   24                                        Attorneys for Mattel, Inc.
                   25
                   26
                   27
                   28
07209/2674503.1
                                                                 -1-
                                  NOTICE OF FILING OF TRANSCRIPTS IN SUPPORT OF AND OPPOSITION TO MOTIONS FOR
                                                                 CONSTRUCTIVE TRUST AND DECLARATORY RELIEF
